 

 

Case 3:19-CV-OOO4l-RDI\/| Document 1 Filed 01/08/19 Page 1 of 4

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

ROSS RIV]ELLO, : CASE NO.
Plaintiff,
v. §
WELLS FARGO, et al. and JOHN DOES .
1-10 and CORPORATIONS X, Y, Z, :
Defendants.
NOTICE OF REMOVAL

PURSUANT TO 28 U.S,Q. §§ 1441 AND 1331
TO THE CLERK OF THE UNI'I'ED STATES DISTRICT COURT FOR THE MIDDLE

DISTRICT OF PENNSYLVANIA AND ALL PARTIES AND THEIR ATTORNEYS OF
RECORD:

PLEASE TAKE NOTICE that pursuant to 28 U.S.C. §§ 1441 and 1446, Defendant
Wells Fargo Bank, N.A. (“Wells Fargo”) hereby removes the above captioned action from the
Court of Common Pleas, Lackawanna County, Pennsylvania, to the United States District Court
for the Middle District of Pennsylvania. Wells Fargo alleges that it is entitled to removal
pursuant to 28 U.S.C.§ 1331, based upon federal question jurisdiction, as follows:

1. Wells F argo is named in the Complaint filed on December 5, 2018, by Plaintifi`
Ross Riviello (“Plaintiff”) in the Comt of Common Pleas, Lackawanna County, Pennsylvania,
Case No. 2018-06474 entitled Ross Rivtello v. Wells Fargo (the “State Court Action”).

2. Wells Fargo has not yet filed an answer or otherwise responded to Plaintiff’s
Complaint in the State Court Action.

3. This notice of removal is timely under 28 U.S.C. § 1446(b) and Federal Rule of

Civil Procedure, Rule 6(a) because it was filed within 30 days of the service on Wells Fargo of a

copy of the Complaint on December 12, 2018,

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4. Removal to the United States District Court for the Middle District of
Pennsylvania is proper because this is the district and division which embraces the county in
which Plaintiff filed the State Court Action. 28 U.S.C. § 1441(a).

5. This action is a civil action of which this Court has original jurisdiction under 28
U.S.C. § 1331, and is one which may be removed to this Court pursuant to the provisions of 28
U.S.C. § 1441 because it arises under the following federal statute: (1) the Telephone Consumer
Protecticn Act, 47 U.S.C. §§ 227 et seq and (2) the Fair Debt Collection Practices Aet, 15 U.S.C.
1692, er seq. See, e.g., Complaint 1111 l, 12-19, 39-42, and 49-62; Mims v. Arrow Financial
Services, LLC, 132 S.Ct. 740, 753 (2012).

6. This Court has supplemental jurisdiction over all other claims asserted by Plaintiff
pursuant to 28 U.S.C. § 1367(a) and 28 U.S.C. § l44l(e).

7. As required by 28 U.S.C. § 1446(d), Wells Fargc will provide written notice of
the removal of this action to Plaintiff, and to the Court of Comrnon Pleas, Lackawarma County,
Pennsylvania.

8. Pursuant to 2d U.S.C. § 1446(a), attached as Exhibit A are accurate copies of all

papers received as of January ?, 2019.

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WHEREFORE, Wells Fargo prays that the State Court Action be removed from state
court to this Court and that this Court assume jurisdiction over the action and determine it on the
merits.

Respectfuliy submitted,

Q/l/l/ M_artin Q, B;yce. Jr.
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Dated: January 7, 2019

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CERTIFICATE OF SERVICE
I hereby certify that on this 7th day of January 2019, I caused a true and correct copy of
the foregoing Notice of Removal to be served via ECF transmission and first class mail, postage
prepaid on counsel of record:
Joseph 'f`. Sucec, Esquire

ioesuc§g@comcast.net
PO Box 317

Grantham, PA 17027

/an/z_/

/s/ Martin C. Brvce. Jr.
Martin C. Bryce, Jr. (I.D. No. 59409)

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